                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION
                         No. 5:19-CR-00507-BR

United States of America,

v.
                                                             Order
Michael Anthony Mata,

                     Defendant.


       Defendant Michael Anthony Mata was arrested in the District of Arizona on

charges arising out of this district. D.E. 4, 6. Defendant had an initial appearance in

the District of Arizona. D.E. 7-1. In response to a motion by defense counsel, that

court ordered that Mata undergo a competency evaluation under 18 U.S.C. §§ 4241

and 4247. D.E. 7-3. The court found Mata to be incompetent to stand trial and

ordered him committed to the custody of the Attorney General for restoration to

competency. D.E. 7-4. As part of that order, the District of Arizona transferred the

case to this district. Id.

       In a report dated October 8, 2021, Dr. Lea Ann Preston Baecht, a forensic

psychologist, concluded that Mata’s mental condition no longer renders him

incompetent to proceed. D.E. 17. The warden also filed the requisite Certificate of

Competency required by 18 U.S.C. § 4241(e). D.E. 17-1. At a hearing on

November 15, 2021, neither the Government nor Mata’s counsel contested the



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report’s findings. Defense counsel asked that Defendant’s extensive medical needs

be considered in determining his placement pending further proceedings.

      After considering the parties’ positions as well as the findings in the report,

the court finds by a preponderance of the evidence, under 18 U.S.C. § 4241(e), that

Mata has recovered to such an extent that he can understand the nature and

consequences of the proceedings against him and to aid properly in his defense.

The court orders that Mata be discharged from the facility where he is currently

housed and returned to the custody of the United States Marshals in the Eastern

District of North Carolina as soon as practical. The court will set further

proceedings in this case by separate order.


Dated:
Dated: November 15, 2021

                                       ______________________________________
                                       ROBERT T. NUMBERS, II
                                       Robert T. Numbers, II
                                       U NITED
                                       United   STATES
                                              States    MAGISTRATE
                                                     Magistrate Judge JUDGE




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